                               Case 20-12024-LSS                      Doc 1         Filed 08/30/20           Page 1 of 23

)LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH
                                        
                                     'HODZDUH
 BBBBBBBBBBBBBBBBBBBB'LVWULFWRIBBBBBBBBBBBBBBBBB
                                       6WDWH 
                                                             
 &DVHQXPEHU If known  BBBBBBBBBBBBBBBBBBBBBBBBB&KDSWHUBBBBB                                                                  &KHFNLIWKLVLVDQ
                                                                                                                                         DPHQGHGILOLQJ




2IILFLDO)RUP
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHGHEWRU¶VQDPHDQGWKHFDVH
QXPEHU LINQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH




    'HEWRU¶VQDPH                            6KLORK ,QGXVWULHV ,QF
                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                              
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    $OORWKHUQDPHVGHEWRUXVHG             6KLORK &RUSRUDWLRQ  )RUFHG $VVXPHG 1DPH 2KLR
                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
       LQWKHODVW\HDUV                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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       ,QFOXGHDQ\DVVXPHGQDPHV
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       WUDGHQDPHVDQG doing business
       as QDPHV                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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    'HEWRU¶VIHGHUDO(PSOR\HU                               
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       ,GHQWLILFDWLRQ1XPEHU (,1 
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    'HEWRU¶VDGGUHVV                      3ULQFLSDOSODFHRIEXVLQHVV                                  0DLOLQJDGGUHVVLIGLIIHUHQWIURPSULQFLSDOSODFH
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                                                                                                            RIEXVLQHVV

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                                              1XPEHU    6WUHHW                                            1XPEHU    6WUHHW

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                                              &LW\                       6WDWH   =,3&RGH               &LW\                     6WDWH     =,3&RGH


                                                                                                            /RFDWLRQRISULQFLSDODVVHWVLIGLIIHUHQWIURP
                                                                                                            SULQFLSDOSODFHRIEXVLQHVV
                                                  0HGLQD
                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                              &RXQW\                                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                            1XPEHU    6WUHHW

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                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO)RUP                                  9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                             SDJH
                                Case 20-12024-LSS                     Doc 1        Filed 08/30/20               Page 2 of 23

'HEWRU         6KLORK ,QGXVWULHV ,QF
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                             &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              1DPH




    7\SHRIGHEWRU                     &RUSRUDWLRQ LQFOXGLQJ/LPLWHG/LDELOLW\&RPSDQ\ //& DQG/LPLWHG/LDELOLW\3DUWQHUVKLS //3 
                                                ✔



                                            3DUWQHUVKLS H[FOXGLQJ//3 
                                            2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                            $ Check one:
    'HVFULEHGHEWRU¶VEXVLQHVV
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                                            1RQHRIWKHDERYH
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                                            % Check all that apply:

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                                            &1$,&6 1RUWK$PHULFDQ,QGXVWU\&ODVVLILFDWLRQ6\VWHP GLJLWFRGHWKDWEHVWGHVFULEHVGHEWRU6HH
                                                KWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
                                                       
                                                    BBBBBBBBBBBB

    8QGHUZKLFKFKDSWHURIWKH          Check one:
       %DQNUXSWF\&RGHLVWKH
       GHEWRUILOLQJ"                      &KDSWHU
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                                            
                                            ✔ &KDSWHUCheck all that apply
       $GHEWRUZKRLVD³VPDOOEXVLQHVV
       GHEWRU´PXVWFKHFNWKHILUVWVXE                   7KHGHEWRULVDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86& ' DQGLWV
       ER[$GHEWRUDVGHILQHGLQ                                 DJJUHJDWHQRQFRQWLQJHQWOLTXLGDWHGGHEWV H[FOXGLQJGHEWVRZHGWRLQVLGHUVRU
         ZKRHOHFWVWRSURFHHG                             DIILOLDWHV DUHOHVVWKDQ,IWKLVVXEER[LVVHOHFWHGDWWDFKWKHPRVW
       XQGHUVXEFKDSWHU9RIFKDSWHU                            UHFHQWEDODQFHVKHHWVWDWHPHQWRIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDO
        ZKHWKHURUQRWWKHGHEWRULVD                             LQFRPHWD[UHWXUQRULIDQ\RIWKHVHGRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ
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       FKHFNWKHVHFRQGVXEER[                               
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                                                                    QRQFRQWLQJHQWOLTXLGDWHGGHEWV H[FOXGLQJGHEWVRZHGWRLQVLGHUVRUDIILOLDWHV DUH
                                                                    OHVVWKDQDQGLWFKRRVHVWRSURFHHGXQGHU6XEFKDSWHU9RI
                                                                    &KDSWHU,IWKLVVXEER[LVVHOHFWHGDWWDFKWKHPRVWUHFHQWEDODQFHVKHHW
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                                                                ✔ 7KHGHEWRULVUHTXLUHGWRILOHSHULRGLFUHSRUWV IRUH[DPSOH.DQG4 ZLWKWKH
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                                                                    6HFXULWLHVDQG([FKDQJH&RPPLVVLRQDFFRUGLQJWRRU G RIWKH6HFXULWLHV
                                                                    ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                                    for Bankruptcy under Chapter 11 2IILFLDO)RUP$ ZLWKWKLVIRUP

                                                                 7KHGHEWRULVDVKHOOFRPSDQ\DVGHILQHGLQWKH6HFXULWLHV([FKDQJH$FWRI5XOH
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2IILFLDO)RUP                               9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                              SDJH
                                  Case 20-12024-LSS                  Doc 1        Filed 08/30/20            Page 3 of 23

'HEWRU          6KLORK ,QGXVWULHV ,QF
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    :HUHSULRUEDQNUXSWF\FDVHV       1R
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       ILOHGE\RUDJDLQVWWKHGHEWRU
       ZLWKLQWKHODVW\HDUV"          <HV 'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
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  $UHDQ\EDQNUXSWF\FDVHV           1R
       SHQGLQJRUEHLQJILOHGE\D
                                           ✔                 6HH DWWDFKHG 6FKHGXOH 
                                          <HV 'HEWRU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 5HODWLRQVKLS BBBBBBBBBBBBBBBBBBBBBBBBB
       EXVLQHVVSDUWQHURUDQ
       DIILOLDWHRIWKHGHEWRU"                       'LVWULFW BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB :KHQ          BBBBBBBBBBBBBBBBBB
       /LVWDOOFDVHV,IPRUHWKDQ                                                                                        00  '' <<<<
       DWWDFKDVHSDUDWHOLVW                        &DVHQXPEHULINQRZQ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



  :K\LVWKHFDVHILOHGLQthis       Check all that apply:
       district"
                                          'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\V
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                                               LPPHGLDWHO\SUHFHGLQJWKHGDWHRIWKLVSHWLWLRQRUIRUDORQJHUSDUWRIVXFKGD\VWKDQLQDQ\RWKHU
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                                          $EDQNUXSWF\FDVHFRQFHUQLQJGHEWRU¶VDIILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW
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  'RHVWKHGHEWRURZQRUKDYH         1R
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       SRVVHVVLRQRIDQ\UHDO             <HV$QVZHUEHORZIRUHDFKSURSHUW\WKDWQHHGVLPPHGLDWHDWWHQWLRQ$WWDFKDGGLWLRQDOVKHHWVLIQHHGHG
       SURSHUW\RUSHUVRQDOSURSHUW\
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       DWWHQWLRQ"
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                                                            DWWHQWLRQ IRUH[DPSOHOLYHVWRFNVHDVRQDOJRRGVPHDWGDLU\SURGXFHRUVHFXULWLHVUHODWHG
                                                            DVVHWVRURWKHURSWLRQV 

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                                                                3KRQH           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 




              Statistical and administrative information




2IILFLDO)RUP                          9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                  SDJH
                               Case 20-12024-LSS                       Doc 1           Filed 08/30/20            Page 4 of 23

'HEWRU
               6KLORK ,QGXVWULHV ,QF
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  'HEWRU¶VHVWLPDWLRQRI             Check one:
     DYDLODEOHIXQGV                     )XQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV
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             Request for Relief, Declaration, and Signatures


 :$51,1* %DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWLQFRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWR
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  'HFODUDWLRQDQGVLJQDWXUHRI       Q      7KHGHEWRUUHTXHVWVUHOLHILQDFFRUGDQFHZLWKWKHFKDSWHURIWLWOH8QLWHG6WDWHV&RGHVSHFLILHGLQWKLV
     DXWKRUL]HGUHSUHVHQWDWLYHRI
                                                  SHWLWLRQ
     GHEWRU
                                          Q      ,KDYHEHHQDXWKRUL]HGWRILOHWKLVSHWLWLRQRQEHKDOIRIWKHGHEWRU

                                          Q      ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLVSHWLWLRQDQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQG
                                                  FRUUHFW


                                          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

                                                                 08/30/2020
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                                          8          /s/ Lillian Etzkorn
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                              Case 20-12024-LSS                  Doc 1           Filed 08/30/20       Page 5 of 23

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     6LJQDWXUHRIDWWRUQH\
                                         8     /s/ Daniel J. DeFranceschi
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2IILFLDO)RUP                        9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                  SDJH
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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                                     [Caption as in Form 416B]


                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                             Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
                                        0-21964
        1934, the SEC file number is _______________.

            2. The following financial data is the latest available information and refers to the debtor=s condition on
         April 30, 2020
        ______________.
              a. Total assets                                                                         $ 664,170,000 (consolidated)

              b. Total debts (including debts listed in 2.c., below)                                  $    563,360,000 (consolidated)
              c. Debt securities held by more than 500 holders
                                                                                                                                           Approximate
                                                                                                                                           number of
                                                                                                                                           holders:

              secured        G   unsecured         G     subordinated         G     $
              secured        G   unsecured         G     subordinated         G     $
              secured        G   unsecured         G     subordinated         G     $
              secured        G   unsecured         G     subordinated         G     $
              secured        G   unsecured         G     subordinated         G     $

              d. Number of shares of preferred stock                                                                                                 0
              e. Number of shares common stock                                                                                                 24,308,119


              Comments, if any:



              3. Brief description of debtor=s business:                   Shiloh Industries, Inc., together with its subsidiaries, are global innovative solutions
        providers focusing on lightweighting technologies that provide environmental and safety benefits to the mobility markets. They utilize alloys of aluminum,
        magnesium and steel products in body structures, chassis, and propulsion systems for use in the automotive and commercial vehical markets.


            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
          Oak Tree Holdings LLC (30.14%); Dimensional Fund Advisors LP (6.25%); and Alan W. Weber (Investment Management) (5.68%)




        Official Form 201A                    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                          SCHEDULE 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in this court for relief under chapter 11 of title 11 of the United States Code. Each
Debtor is listed with the last four digits of its federal tax identification number. The Debtors have
moved for joint administration of these cases under the case number assigned to the chapter 11
case of Shiloh Industries, Inc.

                             Albany-Chicago Company LLC (4687)
                                 C & H Design Company (9432)
                              FMS Magnum Holdings LLC (6471)
                         Greenfield Die & Manufacturing Corp. (8114)
                                 Jefferson Blanking Inc. (7850)
                         Liverpool Coil Processing, Incorporated (0571)
                                  Medina Blanking, Inc. (0707)
                                 Sectional Stamping, Inc. (8967)
                                 Shiloh Automotive, Inc. (1339)
                                    Shiloh Corporation (5101)
                                  Shiloh Die Cast LLC (5814)
                             Shiloh Die Cast Midwest LLC (4114)
                           Shiloh Holdings International, Inc. (1446)
                                  Shiloh Industries, Inc. (7683)
                 Shiloh Industries, Inc. Dickson Manufacturing Division (5835)
                               Shiloh Manufacturing LLC (1628)
                          Shiloh Manufacturing Holdings LLC (0853)
                               The Sectional Die Company (3562)
                                  VCS Properties, LLC (1094)
                   Case 20-12024-LSS             Doc 1        Filed 08/30/20   Page 8 of 23




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

------------------------------------------------------   x

 In re:                                                  :
                                                         :
 SHILOH INDUSTRIES, INC.,                                :       Chapter 11
                                                         :
                                                         :       Case No. 20-____ (____)
          Debtor.                                        :
                                                         :       (Joint Administration Pending)
                                                         :
                                                         :
------------------------------------------------------    x

                           CONSOLIDATED LIST OF CREDITORS
                       HOLDING THE 50 LARGEST UNSECURED CLAIMS

         Shiloh Industries, Inc. and certain of its direct and indirect domestic subsidiaries,
 as debtors and debtors in possession (collectively, the "Debtors"), in the above captioned cases
 each filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code
 (the "Bankruptcy Code"). Contemporaneously with the filing of their petitions, the Debtors are
 hereby filing a consolidated list of the 50 largest unsecured creditors of the Debtors
 (the "Creditor List") in lieu of a separate list for each Debtor, consistent with the relief requested
 in the Debtors' Motion for Entry of an Order (I) Waiving Certain Procedural Requirements
 Relating to the Form, Maintenance and Filing of Certain Creditor Lists, (II) Approving the
 Form, Manner and Proposed Service of the Notice of the Commencement of the Debtors'
 Chapter 11 Cases, (III) Approving the Redaction of Certain Personally Identifiable Information
 for Individual Creditors and Interest Holders and (IV) Granting Other Administrative Relief,
 filed contemporaneously herewith.

          The Creditor List is based on the Debtors' unaudited books and records as of the petition
 date and was prepared in accordance with Federal Rule of Bankruptcy Procedure 1007(d) for
 filing in the chapter 11 case. The Creditor List does not include: (1) persons who come within
 the definition of "insider" set forth in section 101(31) of the Bankruptcy Code; or (2) secured
 creditors, unless the value of a secured creditor's collateral is such that the unsecured deficiency
 places the creditor among the holders of the 50 largest unsecured claims. The information
 contained herein constitutes neither an admission by the Debtors, nor does it constitute a waiver
 of the Debtors' right to contest the validity, priority, or amount of any claim at a later date.
                                   Case 20-12024-LSS                Doc 1        Filed 08/30/20              Page 9 of 23
 Fill in this information to identify the case:

 Debtor name     Shiloh Industries, Inc.

 United States Bankruptcy Court for the:                                  District of    Delaware
                                                                                         (State)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing
 Case number (If known):




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
Unsecured Claims and Are Not Insiders                                                                                                                      12/15

A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
largest unsecured claims.


    Name of creditor and complete          Name, telephone number, and email          Nature of    Indicate if               Amount of unsecured claim
    mailing address, including zip code    address of creditor contact                 the claim    claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                    (for example, contingent, claim amount. If claim is partially secured, fill in total
                                                                                     trade debts, unliquidated claim amount and deduction for value of collateral or
                                                                                     bank loans, , or disputed            setoff to calculate unsecured claim.
                                                                                     professional
                                                                                    services, and
                                                                                     government                 Total claim, if      Deduction for      Unsecured claim
                                                                                      contracts)                    partially           value of
                                                                                                                      secured         collateral or
                                                                                                                                         setoff

     PENSION BENEFIT GUARANTY
     CORPORATION (PBGC)
                                           Name: Israel Goldowitz
     ATTN: ACCOUNTS PAYABLE
1                                          Tel: (202) 326-4020                          PENSION          U                                              $30,700,000
     1200 K STREET, N.W.
                                           Email: efile@pbgc.gov
     12TH FLOOR
     WASHINGTON, DC 20005 USA

     AK STEEL CORPORATION                  Name: Gerry Hickey
2    9227 CENTRE POINTE DR                 Tel: (513) 425-2583                          TRADE                                                             $2,900,544
     WEST CHESTER, OH 45069 USA            Email: connie.deaton@aksteel.com

     ALCAN PRIMARY PRODUCTS
                                           Name: Peter Papamoniodis
     CORP.
                                           Tel: (773) 712-0526
3    6150 PARKLAND BLVD                                                                 TRADE                                                             $2,077,659
                                           Email:
     SUITE 200
                                           peter.papamoniodis@riotinto.com
     CLEVELAND, OH 44124-4103 USA

     OLYMPIC STEEL INC                     Name: Justin Lunsford
4    DEPT CH 19129                         Tel: (734) 673-4924                          TRADE                                                             $1,487,397
     PALATINE, IL 60055-9029 USA           Email: justin_lunsford@olysteel.com

     KENWAL STEEL CORP                     Name: Ann Blakely
5    JCI RESALE P.O. BOX 670758            Tel: (313) 739-1083                          TRADE                                                             $1,404,272
     DETROIT, MI 48267-0758 USA            Email: ann_blakely@kenwal.com

     MAGRETECH INC                         Name: Jonathan Chen
6    301 COUNTY ROAD 177                   Tel: (505) 504-0889                          TRADE                                                             $1,169,123
     BELLEVUE, OH 44811-8713 USA           Email: jonathanc@magretech.us

     DORAL STEEL DE MEXICO S DE
     RL DE CV
                                           Name: Oscar Garcia
     JOSE VASCONCELOS 638A COL
7                                          Tel: 52 (81) 1990 9973                       TRADE                                                             $1,132,326
     VALLE DEL CAMPESTRE SAN
                                           Email: oscar.garcia@samuel.com
     PEDRO GARZA
     GARCIA, NL 66265 MEXICO




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                                    Case 20-12024-LSS                Doc 1         Filed 08/30/20              Page 10 of 23
Debtor    Shiloh Industries, Inc.                                                     Case number (if known)
          Name




    Name of creditor and complete             Name, telephone number, and email        Nature of    Indicate if               Amount of unsecured claim
    mailing address, including zip code       address of creditor contact               the claim    claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                     (for example, contingent, claim amount. If claim is partially secured, fill in total
                                                                                      trade debts, unliquidated claim amount and deduction for value of collateral or
                                                                                      bank loans, , or disputed            setoff to calculate unsecured claim.
                                                                                      professional
                                                                                     services, and
                                                                                      government                 Total claim, if      Deduction for      Unsecured claim
                                                                                       contracts)                    partially           value of
                                                                                                                       secured         collateral or
                                                                                                                                          setoff

     STEEL TECHNOLOGIES
                                             Name: Jason Whitt
     15166 COLLECTIONS CENTER
8                                            Tel: (317) 509-0715                       TRADE                                                               $1,110,033
     DRIVE
                                             Email: jasonw@sttxna.com
     CHICAGO, IL 60693 USA

     HEIDTMAN STEEL PRODUCTS
                                             Name: Ziad Takla
     INC
9                                            Tel: (313) 815-3581                       TRADE                                                               $1,005,989
     4600 HEIDTMAN PARKWAY
                                             Email: ziad.takla@heidtman.com
     CLEVELAND, OH 44105 USA

   US MAGNESIUM LLC                          Name: Tom Kurilich
10 238 NORTH 2200 WEST                       Tel: (801) 230-6434                       TRADE                                                                 $969,093
   SALT LAKE CITY, UT 84116 USA              Email: tkurilich@usmagnesium.com

   IMPERIAL ZINC CORP.                       Name: Aaron Stankewic
11 1031 E 103RD ST                           Tel: (312) 802-5006                       TRADE                                                                 $905,645
   CHICAGO, IL 60628-3007 USA                Email: aaron@imperialzinc.com

                                             Name: Todd Hirschkorn
   ADAMS THERMAL SYSTEMS
                                             Tel: (605) 764-1127
12 47920 5TH STREET                                                                    TRADE                                                                 $903,011
                                             Email:
   CANTON, SD 57013-5802 USA
                                             thirschkorn@adamsthermal.com

   SPECTRO ALLOYS
   CORPORATION                               Name: Gary Borner
13 P.O. BOX 9201-02 BIN #130102              Tel: (612) 804-5738                       TRADE                                                                 $862,162
   MINNEAPOLIS, MN 55480-9201                Email: gborner@spectroalloys.com
   USA

                                             Name: Mike Andrzejewski
   WORTHINGTON INDUSTRIES                    Tel: (216) 548-1438
14 11700 WORTHINGTON DRIVE                   Email:                                    TRADE                                                                 $748,085
   TAYLOR, MI 48180 USA                      mike.andrzejewski@worthingtonindustr
                                             ies.com

   GH TOOL & MOLD, INC.
                                             Name: Charlie Bruder
   28 CHAMBER DR
15                                           Tel: (636) 390-2424                       TRADE                                                                 $715,320
   WASHINGTON, MO 63090-5279
                                             Email: charliebr@ghtool.com
   USA

   PLEX SYSTEMS INC                          Name: Fred Hehl
16 900 TOWER DRIVE SUITE 1400                Tel: (248) 221-3084                       TRADE                                                                 $598,389
   TROY, MI 48098 USA                        Email: fhehl@plex.com

     MILL STEEL
                                             Name: Jim Mcallister
     5116 36TH SE P.O. BOX 8827
17                                           Tel: (412) 916-9794                       TRADE                                                                 $577,842
     GRAND RAPIDS, MI 60677-1008
                                             Email: jim.mcallister@millsteel.com
     USA

   METALS USA                                Name: Kevin Rick
18 1070 W LIBERTY ST                         Tel: (937) 882-6354                       TRADE                                                                 $558,514
   WOOSTER, OH 44691-0999 USA                Email: krice@metalsusa.com

   ARCELORMITTAL KOTE INC                    Name: Amal Touma
19 30755 EDISON ROAD                         Tel: (219) 399-7453                       TRADE                                                                 $557,907
   NEW CARLISLE, IN 46552 USA                Email: amal.touma@arcelormittal.com

   ARCELORMITTAL                             Name: Amal Touma
20 P.O. BOX 248                              Tel: (216) 346-7916                       TRADE                                                                 $554,614
   CHESTERTON, IN 46304 USA                  Email: amal.touma@arcelormittal.com

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                                   Case 20-12024-LSS               Doc 1          Filed 08/30/20              Page 11 of 23
Debtor   Shiloh Industries, Inc.                                                     Case number (if known)
         Name




  Name of creditor and complete              Name, telephone number, and email        Nature of    Indicate if               Amount of unsecured claim
  mailing address, including zip code        address of creditor contact               the claim    claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                    (for example, contingent, claim amount. If claim is partially secured, fill in total
                                                                                     trade debts, unliquidated claim amount and deduction for value of collateral or
                                                                                     bank loans, , or disputed            setoff to calculate unsecured claim.
                                                                                     professional
                                                                                    services, and
                                                                                     government                 Total claim, if      Deduction for      Unsecured claim
                                                                                      contracts)                    partially           value of
                                                                                                                      secured         collateral or
                                                                                                                                         setoff

     BECK ALUMINUM
                                            Name: Bryan Beck
     300 ALLEN BRADLEY DR
21                                          Tel: (216) 533-8013                       TRADE                                                                 $439,446
     MAYFIELD HEIGHTS, OH 44124-
                                            Email: bryan@beckalum.com
     6131 USA

   POWDER COTE II INC                       Name: Tom Salerno
22 P.O. BOX 368                             Tel: (586) 463-7040                       TRADE                                                                 $425,483
   MT CLEMENS, MI 48046 USA                 Email: tsalerno@powdercoteii.com

   CT METAL SOURCE INC                      Name: Chad Crooks
23 9551 ST CHRISTINE STREET                 Tel: (419) 779-6172                       TRADE                                                                 $407,418
   SYLVANIA OH, 43560 USA                   Email: ccrooks@ctmetalsource.com

                                            Name: Allyson Fridley
   KENMAC METALS INC.
                                            Tel: (440) 234-7500
24 17901 ENGLEWOOD DR                                                                 TRADE                                                                 $384,332
                                            Email:
   CLEVELAND, OH 44130 USA
                                            allyson.fridley@thyssenkrupp.com

   QUALITY MOLD & ENGINEERING               Name: Todd Spearritt
25 9070 FIRST STREET                        Tel: (269) 422-2137                       TRADE                                                                 $329,991
   BARODA, MI 49101 USA                     Email: tspearritt@quality-molds.com

   US STEEL AGENT FOR PROTEC Name: Lorraine Rosenthal
26 PROTEC COATING CO. 5000 CR 5 Tel: (412) 433-4708                                   TRADE                                                                 $327,646
   LEIPSIC OH, 45856-0085 USA   Email: calidad@protecto-qro.com

   WELDERS & PRESSES INC                    Name: Robert Kohler
27 1972 BROWN ROAD                          Tel: (586) 948-4300                       TRADE                                                                 $316,088
   CHESTERFIELD, MI 48326 USA               Email: rkohler@wpimfg.com

   SERVIACERO PLANOS, S DE RL
   DE CV                                    Name: Mucio Alvarez
28 BLVD HERMANOS ALDAMA 4200                Tel: (554) 880 8701                       TRADE                                                                 $315,099
   CIUDAD INDUTRAIL LEON                    Email: mucio.alvarez@serviacero.com
   GTO 37490, MEXICO

   SCHAUFLER TOOLING GMBH &
   CO.KG
                                            Name: Marc Klapper
   GOETHESTRASSE 72
29                                          Tel: +49 (0)7333 9608-77                  TRADE                                                                 $301,016
   D 89150 LAICHINGEN BADEN-
                                            Email: marc.klapper@schaufler.de
   WÜRTTEMBERG, 89150
   GERMANY

                                            Name: Joseph Bennet
   NORTH AMERICAN STAINLESS
                                            Tel: (502) 347-6167
30 2710 MOMENTUM PLACE                                                                TRADE                                                                 $299,438
                                            Email:
   CHICAGO, IL 60689 USA
                                            jbennett@northamericanstainless.com

     CROWN INDUSTRIAL SERVICES
                                            Name: Mark Beck
     INC
31                                          Tel: (517) 905-5318                       TRADE                                                                 $297,605
     P.O. BOX 970197
                                            Email: mbeck@crownindservices.com
     YPSILANTI, MI 48197 USA

     CONTINENTAL ALUMINUM LLC
                                            Name: Jose Kipper
     29201 MILFORD RD
32                                          Tel: (248) 904-8619                       TRADE                                                                 $276,568
     NEW HUDSON, MI 48165-9741
                                            Email: jkipper@contalum.com
     USA




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Debtor   Shiloh Industries, Inc.                                                    Case number (if known)
         Name




  Name of creditor and complete              Name, telephone number, and email       Nature of    Indicate if               Amount of unsecured claim
  mailing address, including zip code        address of creditor contact              the claim    claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                   (for example, contingent, claim amount. If claim is partially secured, fill in total
                                                                                    trade debts, unliquidated claim amount and deduction for value of collateral or
                                                                                    bank loans, , or disputed            setoff to calculate unsecured claim.
                                                                                    professional
                                                                                   services, and
                                                                                    government                 Total claim, if      Deduction for      Unsecured claim
                                                                                     contracts)                    partially           value of
                                                                                                                     secured         collateral or
                                                                                                                                        setoff

   RESOURCE MFG                             Name: Lisa Boland
33 P.O. BOX 102332                          Tel: (513) 391-1098                      TRADE                                                                 $248,247
   ATLANTA, GA 30368-2332 USA               Email: lisa.boland@employbridge.com

   DORAL STEEL - DIVISION OF
                                            Name: Jim Herman
   SAMUEL
34                                          Tel: (419) 470-7070                      TRADE                                                                 $245,613
   1500 COINING DRIVE
                                            Email: jim.hermann@samuel.com
   TOLEDO, OH 43612 USA

   MONARCH STEEL COMPANY                    Name: Jamie Vilchek
35 29018 NETWORK PLACE                      Tel: (216) 533-0471                      TRADE                                                                 $239,700
   CHICAGO, IL 60673-1290 USA               Email: jvilcheck@acihq.com

   MRK TECHNOLOGIES                         Name: Terry Mcdonnell
36 31390 VIKING PARKWAY                     Tel: (330) 428-3174                      TRADE                                                                 $236,713
   WESTLAKE, OH 44145 USA                   Email: tmcdonnell@mrktech.com

     HANSON MOLD, DIV. OF HANSON
                                 Name: Heath Weich
     ITNL.
37                               Tel: (269) 429-5555                                 TRADE                                                                 $227,570
     3500 HOLLYWOOD RD.
                                 Email: hweich@hansonmold.com
     ST. JOSEPH, MI 49085 USA

     CANA-DATUM MOULDS LTD
                                            Name: Rodrigo Merino
     55 GOLDTHORNE AVENUE
38                                          Tel: (416) 252-1212                      TRADE                                                                 $215,812
     ETOBICOKE, ONTARIO M8Z 5S7
                                            Email: rodrigom@cana-datum.com
     CANADA

   MSC INDUSTRIAL SUPPLY                    Name: Michael Sanders
   COMPANY INC                              Tel: (717) 507-7894
39                                                                                   TRADE                                                                 $211,034
   P.O. BOX 953635                          Email:
   ST. LOUIS, MO 63195-3635 USA             michael.sanders@mscdirect.com

                                            Name: Rodney Scott
   RELIANCE MACHINE COMPANY
                                            Tel: (765) 284-0151
40 4605 S WALNUT STREET                                                              TRADE                                                                 $210,643
                                            Email:
   MUNCIE, IN 47302 USA
                                            d.flynn@reliancemachineco.com


                               Name: Colin Tripp
   ANCHOR BAY PACKAGING CORP
                               Tel: (586) 949-4040
41 30905 23 MILE ROAD                                                                TRADE                                                                 $205,074
                               Email:
   NEW BALTIMORE, MI 48047 USA
                               ctripp@anchorbaypackaging.com


   METOKOTE CORP                            Name: David Luetzelschwab
42 1340 NEUBRECHT ROAD                      Tel: (260) 432-6900                      TRADE                                                                 $201,681
   LIMA, OH 45801 USA                       Email: luetzelschwab@ppg.com

   STEEL SUMMIT HOLDINGS INC                Name: Patti Jobe
43 1718 JP HENNESSY DRIVE                   Tel: (615) 641-8608                      TRADE                                                                 $184,895
   LAVERGNE, TN 37086 USA                   Email: patti.jobe@steelsummit.com

   COMBINED METALS OF
                                            Name: Tracee Crowley
   MICHIGAN
44                                          Tel: (734) 424-1000                      TRADE                                                                 $183,400
   317 DINO DRIVE
                                            Email: traceec@combmet.com
   ANN ARBOR, MI 48103 USA

   SUPERIOR ALUMINUM ALLOYS                 Name: Patrick Carlin
45 14214 EDGERTON RD.                       Tel: (260) 437-1765                      TRADE                                                                 $182,726
   NEW HAVEN, IN 46774 USA                  Email: pat.carlin@saalloys.com


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Debtor   Shiloh Industries, Inc.                                                     Case number (if known)
         Name




  Name of creditor and complete              Name, telephone number, and email        Nature of    Indicate if               Amount of unsecured claim
  mailing address, including zip code        address of creditor contact               the claim    claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                    (for example, contingent, claim amount. If claim is partially secured, fill in total
                                                                                     trade debts, unliquidated claim amount and deduction for value of collateral or
                                                                                     bank loans, , or disputed            setoff to calculate unsecured claim.
                                                                                     professional
                                                                                    services, and
                                                                                     government                 Total claim, if      Deduction for      Unsecured claim
                                                                                      contracts)                    partially           value of
                                                                                                                      secured         collateral or
                                                                                                                                         setoff

     1 SOURCE DESIGN LTD
                                            Name: Graham Tomlinson
     80 ELM DRIVE S
46                                          Tel: (519) 627-6034                       TRADE                                                                 $177,825
     WALLACEBURG, ON N8A 5E7
                                            Email: grahamt@hazelcorp.ca
     CAN

     KPMG LLP
                                            Name: Talley Lambert
     DEPT 0579                                                                                                                                        + Undetermined
47                                          Tel: (404) 435-5230                     LITIGATION        C, U, D
     P.O. BOX 120001
                                            Email: talleylambert@kpmg.com
     DALLAS, TX 75312-0579 USA

   ADIENT US, LLC                           Name: Michelle Stanfill
                                                                                                                                                      + Undetermined
48 49200 HALYARD DRIVE                      Tel: (731) 967-0271                     LITIGATION        C, U, D
   PLYMOUTH, MI 48170 USA                   Email: michelle.stanfill@adient.com

   RAMZI Y. HERMIZ                          Name: Ramzi Y. Hermiz
                                                                                                                                                      + Undetermined
49 15992 COG HILL DRIVE                     Tel: (248) 249-9200                     LITIGATION        C, U, D
   NORTHVILLE, MI 48168 USA                 Email: rhermiz@gmail.com

   INTERNAL REVENUE SERVICE
                                            Name: Meso T. Hammoud
   ATTN:
                                            Tel: (313) 628-3136
   LB&I:1707://DGILL:STOP7101                                                                                                                         + Undetermined
50                                          Email:                             LITIGATION             C, U, D
   6450 ROCKSIDE WOODS
                                            meso.t.hammoud@irscounsel.treas.go
   BOULEVARD
                                            v
   INDEPENDENCE, OH 44131 USA




Official Form 204                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                              page 5
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

------------------------------------------------------   x

 In re:                                                  :
                                                         :
 SHILOH INDUSTRIES, INC.,                                :        Chapter 11
                                                         :
                                                         :        Case No. 20-____ (____)
          Debtor.                                        :
                                                         :        (Joint Administration Pending)
                                                         :
------------------------------------------------------    x

                            STATEMENT OF CORPORATE OWNERSHIP

         Following is the list of entities that own ten percent or more of debtor Shiloh Industries,
 Inc.’s equity interests. This list has been prepared in accordance with Rules 1007(a)(1) and
 7007.1 of the Federal Rules of Bankruptcy Procedure:

          x        Oak Tree Holdings LLC
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 Fill in this information to identify the case and this filing:

                 ShilohIndustries,Inc.
 Debtor Name

 United States Bankruptcy Court for the:                                District of     Delaware
                                                                                       (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
             Schedule H: Codebtors (Official Form 206H)
            Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
            Amended Schedule

            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

            Other document that requires a declaration      List of Equity Security Holders and Statement of Corporate Ownership




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on        08/30/2020
                           MM / DD / YYYY
                                                           8         /s/ Lillian Etzkorn
                                                                  Signature of individual signing on behalf of debtor

                                                                  LillianEtzkorn
                                                                  Printed name
                                                                  SeniorVicePresidentandChiefFinancialOfficer
                                                                  Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                SHILOH INDUSTRIES, INC.
                                                 (a Delaware Corporation)

                                                     Officer's Certificate

                                                       August 29, 2020

                         I, Lillian Etzkorn, do hereby certify, on behalf of Shiloh Industries, Inc.,
                  a Delaware corporation (the "Company"), and not individually, that I am the duly
                  appointed and acting Senior Vice President and Chief Financial Officer of the Company,
                  and that, as such, I am authorized to execute and deliver this certificate.

                          I further certify, on behalf of the Company and not individually, as of the date
                  hereof, that attached hereto as Exhibit A is a true, correct and complete copy of the
                  resolutions duly adopted by the Company's Board of Directors at a duly held meeting
                  authorizing the Company to, among other things: (a) file a voluntary petition for relief
                  under chapter 11 of title 11 of the United States Code; (b) enter into and incur any
                  obligations under a new debtor in possession financing facility or facilities, including use
                  of cash collateral, and any associated documents and consummate the transactions
                  contemplated therein; and (c) enter into a stock and asset purchase agreement and the
                  transactions contemplated thereby. Such resolutions or any Company actions taken
                  pursuant thereto have not been amended, superseded, modified or rescinded, and such
                  resolutions are in full force and effect on the date hereof.



                              IN WITNESS WHEREOF, I have hereunto set my hand on the date first written
                  above.



                                                                   By:
                                                                   Name: Lillian Etzkorn
                                                                   Title: Senior Vice President and
                                                                          Chief Financial Officer
                                                                          Shiloh Industries, Inc.




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                                                       EXHIBIT A




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                                      RESOLUTIONS OF THE BOARD OF DIRECTORS
                                            OF SHILOH INDUSTRIES, INC.

             A meeting of the Board of Directors (the “Board”) of SHILOH INDUSTRIES, INC. (the
             “Company”) was duly called and held on the 28th day of August, 2020. A majority and a quorum
             of the Board was present at the meeting; and the Company's Board duly adopted at that meeting
             the following resolutions.

                                Approval of the Petition and other Chapter 11 Related Matters

                      WHEREAS, the members of the Board have (a) regularly and carefully reviewed
                      the materials and other information presented by the Company's management and
                      advisors regarding the Company's business conditions, the Company's operations,
                      its current and projected financial position and other relevant information,
                      (b) thoroughly evaluated the Company's strategic alternatives, including a possible
                      restructuring, (c) conferred extensively with the Company's management and
                      advisors regarding these matters, and (d) determined that the filing of a voluntary
                      petition for relief under chapter 11 of title 11 of the United States Code (the
                      "Bankruptcy Code") is in the best interests of the Company, its subsidiaries and
                      affiliates, and its stakeholders;

                      WHEREAS, that in the judgment of the Board it is desirable and in the best
                      interests of the Company and its stakeholders that the Company seek relief under
                      the Bankruptcy Code.

                      NOW, THEREFORE, BE IT RESOLVED, that the Company shall be, and it
                      hereby is, authorized to file a voluntary petition (the "Petition") for relief under the
                      Bankruptcy Code (the "Chapter 11 Case"), in the United States Bankruptcy Court
                      for the District of Delaware or such other court as each "Authorized Person" (as
                      defined below) of the Company shall determine to be appropriate (the "Bankruptcy
                      Court") and perform any and all such acts as are reasonable, advisable, expedient,
                      convenient, proper, or necessary to effect the foregoing, the performance of such
                      acts to constitute conclusive evidence of the reasonableness, advisability,
                      expedience, convenience, appropriateness, or necessity thereof; and it is

                      FURTHER RESOLVED, that each Authorized Person shall be, and each of them
                      hereby is, authorized, directed, and empowered, in the name and on behalf of the
                      Company, to: (a) execute, acknowledge, deliver, and verify the Petition and all
                      other ancillary documents, and cause the Petition to be filed with the Bankruptcy
                      Court and make or cause to be made prior to execution thereof any modifications
                      to the Petition or ancillary documents as any such Authorized Person, in such
                      person's discretion, deems necessary, desirable or appropriate to carry out the intent
                      and accomplish the purposes of these resolutions; (b) execute, acknowledge,
                      deliver, verify, and file or cause to be filed all petitions, schedules, statements, lists,
                      motions, applications, and other papers or documents necessary or desirable in
                      connection with the foregoing; (c) execute, acknowledge, deliver, and verify any
                      and all other documents necessary, desirable, or appropriate in connection
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                      therewith and to administer the Company's Chapter 11 Case in such form or forms
                      as any such Authorized Person may approve; and the actions of any Authorized
                      Person taken pursuant to this resolution, including the execution, acknowledgment,
                      delivery, and verification of the Petition and all ancillary documents and all other
                      agreements, certificates, instruments, guaranties, notices, and other documents,
                      shall be conclusive evidence of such Authorized Person's approval and the
                      necessity, desirability, or appropriateness thereof; and (d) take any action as may
                      be deemed necessary, desirable, or appropriate to carry out the intent of this
                      resolution, including the filing of the Petition and any ancillary documents; and it
                      is

                      FURTHER RESOLVED, that the Authorized Persons shall be, and each of them
                      individually hereby is, authorized, directed, and empowered, in the name and on
                      behalf of the Company, to retain: (a) Jones Day; (b) Richards, Layton & Finger,
                      P.A.; (c) Ernst & Young LLP; (d) Houlihan Lokey Capital, Inc.; (e) Prime Clerk
                      LLC; and (f) such additional professionals, including attorneys, accountants,
                      financial advisors, investment bankers, actuaries, consultants, agents, or brokers
                      (together with the foregoing identified firms, the "Professionals"), in each case as
                      in any such Authorized Person's judgment may be necessary, desirable, or
                      appropriate in connection with the Company's Chapter 11 Case and other related
                      matters, on such terms as such Authorized Person or Authorized Persons shall
                      approve and such Authorized Person's retention thereof to constitute conclusive
                      evidence of such Authorized Person's approval and the necessity, desirability, or
                      appropriateness thereof; and it is

                      FURTHER RESOLVED, that the law firms of Jones Day and Richards, Layton
                      & Finger, P.A., and any additional special or local counsel selected by the
                      Authorized Persons, if any, shall be, and hereby are, authorized, empowered, and
                      directed to represent the Company, as debtor and debtor in possession, in
                      connection with any Chapter 11 Case commenced by or against it under the
                      Bankruptcy Code; and it is

                      FURTHER RESOLVED, that the Company, as debtor and debtor in possession
                      under chapter 11 of the Bankruptcy Code, shall be, and it hereby is, authorized to:
                      (a) enter into and incur any obligations under a new debtor in possession financing
                      facility or facilities, including use of cash collateral, and any associated documents
                      and consummate the transactions contemplated therein (collectively, the
                      "Financing Transactions") with such lenders and on such terms as may be approved
                      by any one or more of the Authorized Persons, as may be necessary, desirable, or
                      appropriate for the continuing conduct of the affairs of the Company; and (b) pay
                      related fees, incur (or guarantee, as applicable) the debt and other obligations and
                      liabilities contemplated by the Financing Transactions, and grant security interests
                      in and liens upon some, all, or substantially all of the Company's assets in each case
                      as may be deemed necessary, desirable, or appropriate by any one or more of the
                      Authorized Persons in connection with the Financing Transactions; and it is
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                      FURTHER RESOLVED, that: (a) the Authorized Persons shall be, and each of
                      them individually, hereby is, authorized, directed, and empowered, in the name and
                      on behalf of the Company, as debtor and debtor in possession, to take such actions
                      and execute, acknowledge, deliver, and verify such certificates, instruments,
                      guaranties, credit agreements, pledge agreements, security agreements, promissory
                      notes, letter of credit applications, mortgages, intellectual property security
                      agreements, account control agreements, other collateral documents or security
                      instruments, instruments, notices, and any and all other agreements or documents
                      arising in connection with the Financing Transactions as the Authorized Persons
                      may deem necessary, desirable, or appropriate to facilitate the Financing
                      Transactions, in each case including any amendment, amendment and restatement,
                      supplements, or other modifications to the foregoing (collectively, the "Financing
                      Documents"); (b) Financing Documents containing such provisions, terms,
                      conditions, covenants, warranties, and representations as may be deemed
                      necessary, desirable or appropriate by the Authorized Persons are hereby approved;
                      and (c) the actions of any Authorized Person taken pursuant to this resolution,
                      including the execution, acknowledgement, delivery, and verification of all such
                      Financing Documents, shall be conclusive evidence of such Authorized Person's
                      approval and the necessity, desirability, or appropriateness thereof; and it is

                      FURTHER RESOLVED, that the Authorized Persons shall be, and each of them
                      individually, hereby is, authorized, directed, and empowered to the fullest extent
                      permitted by Delaware law, in the name and on behalf of the Company, as debtor
                      and debtor in possession, to negotiate, execute, deliver, and perform on behalf of,
                      and take such actions and execute, acknowledge, deliver, and verify such
                      agreements, certificates, instruments, guaranties, notices, and any and all other
                      documents as the Authorized Persons, or any of them, may deem necessary,
                      desirable, or appropriate to facilitate the transactions contemplated by the foregoing
                      resolution including, but not limited to, any certificates, instruments, guaranties,
                      credit agreements, pledge agreements, security agreements, promissory notes, letter
                      of credit applications, mortgages, intellectual property security agreements,
                      account control agreements, other collateral documents or security instruments,
                      instruments, notices, and any and all other agreements or documents arising in
                      connection with the Financing Documents, containing such provisions, terms,
                      conditions, covenants, warranties, and representations as may be deemed
                      necessary, desirable, or appropriate, and any modifications or supplements thereto,
                      all such materials to be in the form approved by one or more of the Authorized
                      Persons and the execution, acknowledgement, delivery, and verification thereof by
                      such Authorized Person or Authorized Persons to be conclusive evidence of such
                      approval and the necessity, desirability, or appropriateness thereof.

                                      Approval of the Stock and Asset Purchase Agreement

                      WHEREAS, the Board has reviewed that certain Stock and Asset Purchase
                      Agreement (the "Purchase Agreement"), to be entered into by and among Grouper
                      Holdings, LLC, a Delaware limited liability company, the Company, and each of
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                      the Company’s subsidiaries listed on the signature pages to the Purchase
                      Agreement;

                      WHEREAS, the sale of substantially all of the properties and assets of the
                      Company and its subsidiaries pursuant to the Purchase Agreement will be
                      undertaken pursuant to the Bankruptcy Code and Section 303 of the Delaware
                      General Corporation Law; and

                      WHEREAS, that in the judgment of the Board it is desirable and in the best
                      interests of the Company that the Company enter into the Purchase Agreement.

                      NOW, THEREFORE, BE IT RESOLVED, that the execution, delivery and
                      performance of the Purchase Agreement substantially in the form previously
                      provided to the Board and the transactions contemplated thereby, be, and they
                      hereby are, deemed advisable and in the best interests of the Company and are
                      hereby authorized, approved and adopted for all purposes; and it is

                      FURTHER RESOLVED, that the Authorized Persons and their designees be, and
                      each of them hereby is, authorized, empowered and directed to negotiate, execute
                      and deliver on behalf of the Company any agreements, documents and instruments
                      in connection with the Purchase Agreement or as such Authorized Persons may
                      deem necessary, advisable or appropriate, such execution and delivery by any such
                      Authorized Persons to be conclusive evidence of such authorization and approval.

                       Approval of Superpriority Secured Debtor-in-Possession Credit Agreement,
                          Postpetition Security Agreement and Postpetition Pledge Agreement

                      WHEREAS, the Board has reviewed that certain Superpriority Secured Debtor-in-
                      Possession Credit Agreement (the “Credit Agreement”), to be entered into by and
                      among the Company, certain of the Company’s subsidiaries and Bank of America,
                      N.A., as administrative agent (the “Agent”);

                      WHEREAS, the Board has reviewed that certain Postpetition Security Agreement
                      (the “Security Agreement”), to be entered into by and among the Company, certain
                      of the Company’s subsidiaries and the Agent, and that certain Postpetition Pledge
                      Agreement (the “Pledge Agreement”), to be entered into by and among the
                      Company, certain of the Company’s subsidiaries and the Agent and all other related
                      loan documents referred to or contemplated by the Credit Agreement, including,
                      but not limited to, intellectual property security agreements, control agreements,
                      mortgages, deeds of trust, intercreditor agreements, landlord agreements,
                      assignments and similar and related documents (together with the Credit
                      Agreement, the Security Agreement and the Pledge Agreement, the “Financing
                      Documents”);

                      WHEREAS, that in the judgment of the Board it is desirable and in the best
                      interests of the Company that the Company enter into the Financing Documents
                      and to execute such other documents as may be required in connection with the
                      Financing Documents;
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                      NOW, THEREFORE, BE IT RESOLVED, that the Credit Agreement, in the
                      form approved by any Authorized Person, and any amendments, amendments and
                      restatements or other modifications to the Credit Agreement (including
                      amendments increasing the maximum amount of credit available thereunder and/or
                      extending the maturity date of the same) and the transactions, other actions and
                      instruments contemplated by or incident to the Credit Agreement, be and hereby
                      are authorized, confirmed, ratified and approved;

                      FURTHER RESOLVED, that the Security Agreement, in the form approved by
                      any Authorized Person, and any and all amendments, amendments and restatements
                      or other modifications to the Security Agreement, and the transactions (including
                      the granting of security interests with respect to substantially all of the Company’s
                      assets), and all other actions and instruments contemplated by or incident to the
                      Security Agreement, be and hereby are authorized, confirmed, ratified and
                      approved;

                      FURTHER RESOLVED, that the Pledge Agreement, in the form approved by
                      any Authorized Person, and any and all amendments, amendments and restatements
                      or other modifications to the Pledge Agreement, and the transactions and all other
                      actions and instruments contemplated by or incident to the Pledge Agreement, be
                      and hereby are authorized, confirmed, ratified and approved;

                      FURTHER RESOLVED, that all other Financing Documents, in the form
                      approved by any Authorized Person, and any and all amendments, amendments and
                      restatements or other modifications thereto, and the transactions, and all other
                      actions and instruments contemplated by or incident to the other Financing
                      Documents, be and hereby are authorized, confirmed, ratified and approved;

                      FURTHER RESOLVED, that any of the officers of the Company, acting alone or
                      in concert on behalf of the Company, are hereby authorized and directed for and on
                      behalf of the Company to make, negotiate, execute, acknowledge, verify, issue and
                      deliver each of the Financing Documents, as applicable, and any amendments
                      thereto, with such changes thereto as the Authorized Person executing the same
                      approves as being in the best interests of the Company, the execution of each
                      Financing Document and any amendment thereto to be conclusive evidence of such
                      approval and such authority.

                                                            General

                      FURTHER RESOLVED, that, in addition to the specific authorizations
                      heretofore conferred upon the Authorized Persons, each Authorized Person be, and
                      hereby is, authorized with full power of delegation, in the name and on behalf of
                      the Company, to take or cause to be taken any and all such further actions and to
                      execute and deliver or cause to be executed or delivered, and to amend, supplement,
                      or otherwise modify from time to time, any and all such agreements, documents,
                      certificates, instruments, statements, notices, undertakings, amendments, and other
                      writings, and to incur and to pay or direct payment of all such fees and expenses,
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                      including filing fees, as in the judgment of the Authorized Person shall be
                      necessary, desirable, or appropriate to effectuate the purpose and intent of any and
                      all of the foregoing resolutions adopted herein; and it is

                      FURTHER RESOLVED, that the omission from these resolutions of any
                      agreement or other arrangement contemplated by any of the agreements or
                      instruments described in the foregoing resolutions or any action to be taken in
                      accordance with any requirements of any of the agreements or instruments
                      described in the foregoing resolutions shall in no manner derogate from the
                      authority of the Authorized Persons to take all actions necessary, desirable,
                      advisable, or appropriate to consummate, effectuate, carry out, or further the
                      transactions contemplated by and the intent and purposes of the foregoing
                      resolutions; and it is

                      FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by
                      any Authorized Person, or at the direction of an Authorized Person, or by any of
                      the Professionals at the direction of an Authorized Person, in connection with the
                      Chapter 11 Case or any proceedings related thereto, or any matter related thereto,
                      be, and hereby are, adopted, ratified, confirmed, and approved in all respects as the
                      acts and deeds of the Company; and it is

                      FURTHER RESOLVED, that any and all lawful actions and transactions by any
                      Authorized Person, or at the direction of an Authorized Person, for and on behalf
                      and in the name of the Company with respect to any transactions contemplated by
                      the foregoing resolutions, including in connection with the Financing Transactions,
                      before the adoption of the foregoing resolutions be, and they hereby are, ratified,
                      authorized, approved, adopted, and consented to in all respects for all purposes; and
                      it is

                      FURTHER RESOLVED, that the Board and any Authorized Person hereby is
                      authorized and directed to certify and/or attest these resolutions, certificate of
                      incumbency, and such other documents or instruments that the Secretary of the
                      Company may deem necessary or appropriate in connection with the foregoing
                      matters; provided, however, that such certification and/or attestation shall not be
                      required for any document, instrument, or agreement to be valid and binding on the
                      Company; and it is

                      FURTHER RESOLVED, that for the purposes of these resolutions, the term
                      "Authorized Person" shall mean and include any of the following officers of the
                      Company: (a) the Chief Executive Officer, (b) the President, (c) the Chief Financial
                      Officer, (d) the Vice President, (e) Legal and Secretary, and (f) any individual
                      designated by any of the foregoing officers.
